      Full
No.   Name in Last Name   First Name             Country of Residence
      Chinese
1     蔡岚      Cai         Lan                    China
 2    陈树杰 Chen            Shujie                 China
 3    陈天然 Chen            Tianran                United States
 4    陈巍峻 Chen            Weijun                 China
 5    楚杰      Chu         Jie                    China
 6            Cong        Zhaojun                China
 7    崔赫      Cui         He                     China
 8    丁建迎 Ding            Jianying               China
 9    杜吉春 Du              Jichun                 China
10    杜青      Du          Qing                   United States
11    冯洁莹 Feng            Jieying                United States
12    高宇鹏 Gao             Yupeng                 United States
13            Han         Yiran                  United States
14    胡劲杨 Hu              Jinyang                China
15    胡乃心 Hu              Naixin                 China
16    黄晓      Huang       Xiao                   China
17            Jin         Junmei                 United States
18    孟欣      Meng        Xin                    China
19            Lu          Weihong                China
20    马媛媛 Ma              Yuanyuan               United States
21    潘旻      Pan         Min                    China
22    裴蕾      Pei         Lei                    China
23            Qi          Hao                    United States
24    荣晓      Rong        Xiao                   China
25    邵娟      Shao        Juan                   China
26    王辉      Wang        Hui                    China
27    汪敬颐 Wang            Jingyi                 China
28            Wang        Yuquan                 China
29            Wang        Zidong                 United States
30    吴蓉蓉 Wu              Rongrong               China
31    许朝晖 Xu              Zhaohui                China
32            Xu          Qi                     United States
33    晏婕      Yan         Jie                    China
34    杨棵      Yang        Ke                     United States
35    杨沁      Yang        Qin                    China
36    于红云 Yu              Hongyun                United States
37    曾淑贤 Zeng            Shuxian                China
38    张晓红 Zhang           Xiaohong               United States
39    赵颖      Zhao        Ying                   United States
40    周旻波 Zhou            Minbo                  United States
41    周南      Zhou        Nan                    China
42    朱慧卿 Zhu             Huiqing                China
43    曾子玲 Zeng            Ziling                 China
44    张陆怡 Zhang           Luyi                   China
45    梁珺迪 Liang           Jundi                  United States
46    李涛      Li          Tao                    China
47    蔡芸      Cai         Yun                    United States
48    汤宏亮 Tang            Hongliang              China
49    汤杰      Tang        Jie                    China
50    陈文龙 Chen            Wenlung                China
51    张实      Zhang       Shi                    China
52    车军      Che         Jun                    United States
53    张达贺 Zhang           Dahe                   United States
54    万山      Wan         Shan                   China
55    孙小鸿 Sun             Xiaohong               United States
56    吕燕      Lyu         Yan                    China
57    王文雁 Wang            Wenyan                 Singapore
58    田佳林 Tian            Jialin                 China
59    汤睿      Tang        Rui                    United States
60            Nguyen      Phuong                 United States
61    魏君丽 Wei             Junli                  China
62    刘思雨 Liu             Siyu                   United States
63    张东力 Zhang           Dongli                 United States
64    王强      Wang        Qiang                  China
65    林新汉 Lin             Xinhan                 China
66    余宏英 Yu              Hongying               United States
67    蒙健莹 Meng            Jianying               China
68    潘叶青 Pan             Yeqing                 China
69    吴韵斐 Wu              Yunfei                 China
70            Qi          Xuerong                China




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